      Case 2:11-cv-00084 Document 718 Filed on 11/06/19 in TXSD Page 1 of 2
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 06, 2019
                            UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

M.D.; bnf STUKENBERG, et al,                      §
                                                  §
         Plaintiffs,                              §
VS.                                               §   CIVIL ACTION NO. 2:11-CV-84
                                                  §
GREG ABBOTT, et al,                               §
                                                  §
         Defendants.                              §

                                      AMENDED ORDER

       After hearing in this matter, the Court makes the following orders:

       No later than 12:00 o’clock noon on Wednesday, November 6, 2019, the Department of

Family and Protective Services of the State of Texas (“DFPS”) shall provide to the Monitors a

revised Court’s Exhibit 2 admitted in Court this date that is readable and follows a format of

question or request with an answer or response beneath. The Court will not accept the format in

Court’s Exhibit 2.

       By 5:00 o’clock p.m. on Friday, November 8, 2019, DFPS shall provide the Monitors

with a complete list of identified sexually aggressive PMC children and identified PMC sexually

abused children with a corresponding list of each assigned caregiver. Further, DFPS shall verify

to the Monitors that each caregiver has been notified of this status.

       As a result of the Court confirming its prior order that all licensed placements with a

PMC child of more than six children (including adoptive and biological children) shall have

instant 24-hour awake supervision (reliance on alarms, videos and roving nighttime supervision

is inadequate). Roving is defined as a staff member that goes from building to building. The

Monitors’ report (D.E. 711) made clear that alarms were frequently not set, bathroom doors were

not locked, and reliance on technology in general was imperfect at best. No PMC children shall


1/2
      Case 2:11-cv-00084 Document 718 Filed on 11/06/19 in TXSD Page 2 of 2



be removed or discharged from a placement requiring 24-hour awake supervision as a direct

result of this order without permission of the Court as recommended by the Monitors.

       No later that 12:00 o’clock noon on Wednesday, November 6, 2019, DFPS is ordered to

provide Plaintiffs and the Monitors with a copy of the contract with the catchment foster care

redesign that includes Fort Worth.

       SIGNED and ORDERED this 6th day of November, 2019.


                                                 ___________________________________
                                                           Janis Graham Jack
                                                    Senior United States District Judge




2/2
